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Of Attorney for Defendants



                              UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

                                      PORTLAND DIVISION

RADAGAST PET FOOD, INC., an                       Case No. 3:19-cv-01467-JR
Oregon corporation,
                                                  DEFENDANTS’ MOTION FOR AN
                Plaintiff,                        AWARD OF ATTORNEY FEES

       v.                                         Oral Argument Requested

CENTINELA FEED, INC., a
California corporation, and THE
LOTUS PET FOOD, INC., a
California corporation,

                Defendants.



                                    LR 7-1 CERTIFICATION

       The undersigned counsel for Defendants Centinela Feed, Inc. and The Lotus Pet Food,

Inc. (“Defendants”) certifies that counsel for the parties met and conferred by telephone and

electronic mail in a good faith effort to resolve the issues presented in this motion, but were

unable to do so. In those conversation, and in an e-mail to the court clerk, Plaintiff’s counsel

expressed an understanding that Defendants would move the court for an award of attorney fees

and costs, while preserving Plaintiff’s right to object to the same. See Declaration of Eric S.

Postma in Support of Defendants’ Motion for Attorney Fees, ⁋ 11, Ex. A.

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PAGE 1 – DEFENDANTS’ MOTION FOR AN AWARD OF ATTORNEY FEES
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          Case 3:19-cv-01467-JR          Document 62        Filed 02/25/21   Page 2 of 3




                                             MOTION
       Pursuant to FRCP 54(d)(2) and LR 54.3, Defendants move the Court for an award of

attorney fees in the amount of $115,398.00. Defendants are entitled to an award of attorney fees

as the prevailing party pursuant to FRCP 54, the agreement at issue in the proceedings and ORS

20.096.

       This motion is supported by the Declaration of Eric S. Postma, together with the

memorandum of law filed contemporaneously with this motion.

       RESPECTFULLY SUBMITTED this 25th day of February , 2021.

                                               BITTNER & HAHS, P.C.



                                               By:       s/Eric S. Postma
                                                     Eric S. Postma, OSB #993478
                                                     Nathan B. Pogue, OSB #164611
                                                     Of Attorneys for Defendants




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              Case 3:19-cv-01467-JR       Document 62       Filed 02/25/21   Page 3 of 3




 1                                 CERTIFICATE OF SERVICE

 2          I hereby certify that on the 25th day of February, 2021, I served the foregoing

 3   DEFENDANTS’ MOTION FOR AN AWARD OF ATTORNEY FEES on the following

 4   individual:

 5   Nicholas J. Henderson, OSB #074027
     Motschenbacher & Blattner LLP
 6   117 SW Taylor Street, Suite 300
     Portland, OR 97204
 7   E: nhenderson@portlaw.com
     Of Attorneys for Plaintiff
 8
     via CM/ECF Notice of Electronic Filing.
 9
            DATED this 25th day of February, 2021.
10
                                                  BITTNER & HAHS, P.C.
11

12                                             By: s/Eric S. Postma
13                                                Eric S. Postma, OSB #993478
                                                  Of Attorneys for Defendants
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     Page 1 - CERTIFICATE OF SERVICE
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